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 5   Attorneys for Defendants
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     John W. Larson, Robert L. Metzger and
 7   Edward C. Nafus
 8   [Additional Counsel on Signature Page]
 9

10
                                  UNITED STATES DISTRICT COURT
11
                              NORTHERN DISTRICT OF CALIFORNIA
12

13
     MELVYN KLEIN,                                       Case No. 18-cv-04445-JSW
14
                            Plaintiff,                    STIPULATION AND [PROPOSED]
15                                                        ORDER OF DISMISSAL WITHOUT
            v.                                            PREJUDICE PURSUANT TO
16                                                        FEDERAL RULE OF CIVIL
     JOSEPH L. JACKSON, et al.,                           PROCEDURE 25(A)(1)
17
                            Defendant.
18

19          WHEREAS, on July 23, 2018, Plaintiff Melvyn Klein, then a shareholder of WageWorks,
20   Inc. (“WageWorks”), filed this shareholder derivative case on behalf of WageWorks;
            WHEREAS, the Court subsequently entered an order staying the case indefinitely;
21
            WHEREAS, on August 30, 2019, WageWorks merged with HealthEquity, Inc. As a
22
     result of that transaction, Defendants contend Plaintiff and all other WageWorks shareholders lost
23
     standing to pursue any derivative claims as a matter of law. Plaintiff contended, however, that
24   under Delaware law applicable to WageWorks, he had an economic interest in the derivative
25   litigation and possessed a direct inseparable fraud claim to remedy unlawful conduct that
26   occurred pre-merger.

27          WHEREAS, this claim for inseparable fraud was litigated in a separate, parallel action in
     In re WageWorks Derivative Litigation, Lead Case No. 18CIV03264, California Superior Court,
28
                                                                         STIPULATION AND PROPOSED
                                                                                ORDER OF DISMISSAL
                                                                                 NO. 18-CV-04445-JSW
        Case 4:18-cv-04445-JSW Document 39 Filed 08/26/22 Page 2 of 4



 1   San Mateo County. That action was dismissed without prejudice on forum selection grounds and
 2   the dismissal was affirmed on appeal.

 3             WHEREAS, on February 17, 2022, counsel for Plaintiff in this action filed a Suggestion
     of Death Upon the Record pursuant to Federal Rule of Civil Procedure 25(a), informing the Court
 4
     and Defendants of Plaintiff’s passing;
 5
               WHEREAS, on February 18, 2022, the parties filed a joint status report in which
 6   Defendants requested that the Court enter an order dismissing this action and closing the case
 7   pursuant to Federal Rule of Civil Procedure 25(a)(1), reasoning that because the WageWorks-
 8   HealthEquity merger extinguished the right of Plaintiff and all other WageWorks shareholders to

 9   pursue a derivative claim on WageWorks’ behalf, there is no legal right or basis for any person to
     be substituted in Plaintiff’s place;
10
               WHEREAS, in the February 18, 2022 status report, Plaintiff’s counsel stated that he was
11
     not currently aware of any shareholder other than Plaintiff or those who take under his death as
12
     potentially claiming any legal right or authority to substitute in as a plaintiff in this derivative
13   action;
14             WHEREAS, since the filing of the joint status report, no shareholder or anyone taking
15   under Plaintiff’s death has claimed any legal right or authority to substitute in as a plaintiff in this
     derivative action and the time to do so has expired;
16
               NOW THEREFORE, in light of the foregoing, the Defendants and Plaintiff’s counsel
17
     HEREBY STIPULATE AND AGREE AS FOLLOWS:
18
               1.     Since the filing of the joint status report on February 18, 2022, no shareholder or
19   anyone taking under Plaintiff’s death has claimed any legal right or authority to substitute in as a
20   plaintiff in this derivative action;
21             2.     The action is hereby dismissed in its entirety without prejudice and the case shall

22   be closed pursuant to Federal Rule of Civil Procedure 25(a)(1).

23   Dated: August 26, 2022                          AMY S. PARK
24                                                   O’MELVENY & MYERS LLP

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26                                                   By:     /s/ Amy Park
                                                                 Amy S. Park
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                                                                              STIPULATION AND PROPOSED
                                                       -2-                           ORDER OF DISMISSAL
                                                                                      NO. 18-CV-04445-JSW
       Case 4:18-cv-04445-JSW Document 39 Filed 08/26/22 Page 3 of 4



 1                                     Attorneys for Defendants
                                       Thomas A. Bevilacqua, Bruce G. Bodaken,
 2                                     Mariann Byerwalter, Jerome D. Gramalia,
 3                                     John W. Larson, Robert L. Metzger and
                                       Edward C. Nafus
 4
     Dated: August 26, 2022            MICHAEL S. DICKE
 5                                     CATHERINE KEVANE
                                       KATHERINE MARSHALL
 6                                     FENWICK & WEST LLP
 7

 8                                     By:     /s/ Catherine Kevane
                                                   Catherine Kevane
 9
                                       Attorneys for Defendant
10
                                       Joseph L. Jackson
11
     Dated: August 26, 2022            IGNACIO E. SALCEDA
12                                     WILSON SONSINI GOODRICH & ROSATI
                                       Professional corporation
13

14
                                       By:     /s/ Ignacio Salceda
15                                                 Ignacio Salceda

16                                     Attorneys for Nominal Party
                                       WageWorks, Inc.
17
     Dated: August 26, 2022            THOMAS J. MCKENNA
18                                     GAINEY McKENNA & EGLESTON

19                                     JON A. TOSTRUD
                                       TOSTRUD LAW GROUP, P.C.
20

21
                                       By:     /s/ Thomas J. McKenna
22                                                 Thomas McKenna
23                                     Attorneys for Plaintiff
24

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                                                                 STIPULATION AND PROPOSED
                                         -3-                            ORDER OF DISMISSAL
                                                                         NO. 18-CV-04445-JSW
       Case 4:18-cv-04445-JSW Document 39 Filed 08/26/22 Page 4 of 4



 1                                        PROPOSED ORDER
 2          Upon the stipulation of the parties to this action, it is HEREBY ORDERED that:
 3          1.     The action is hereby dismissed in its entirety with prejudice pursuant to Federal
 4   Rule of Civil Procedure 25(a)(1).
                                        this
 5          2.     The clerk shall enter an order closing the case.

 6
       Dated: August 26, 2022
 7
                                                          ___________________________
 8
                                                          United States District Judge
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                                                                         STIPULATION AND PROPOSED
                                                    -5-                         ORDER OF DISMISSAL
                                                                                 NO. 18-CV-04445-JSW
